EXHIBIT 4
                                                                         - 1 of 2 -
FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       10/17/2019



                           date of birth              , Social Security Number
               , telephone number              was interviewed at his residence of
                               Hayes, Virginia      . After being advised of the
        identity of the interviewing Agents and the nature of the interview,
                 provided the following information:

                     worked at the                        in Portsmouth, Virginia.
                  did not remember much about Chris HASSON until a reporter left a
        letter in             mail box asking to interview          about HASSON
        after HASSON's arrest.           declined to talk to any press about HASSON.

                    was a skinhead with HASSON and                                                                                                         knew
        HASSON for only one day.          was eventually locked up with                                                                                   While
        the two were incarcerated together,       attacked          in jail.
                 has not had any contact with       since 1995.

                  hung out with          often. On the night that
        husband was pistol whipped and assaulted by                  was hanging out
        with        and HASSON and all three were drinking together. While drinking,
        all three eventually ran out of booze.        knew that the girl's house they
        went to                                   daughter) had liquor at the house,
        and they wanted to get some.           was very drunk during the whole
        ordeal. Once at the house to get booze,        jumped out of the vehicle,
        assaulted               husband, jumped back in the vehicle and said "go go
        go!"

                                was contacted by the police the next day regarding the assault
        incident.                      learned that       was wanted for assault and attempted
        murder.                   was staying with HASSON at that time.

                    recalled that HASSON was possibly in the US Marines and was
        deployed to Iraq. After coming back from Iraq,          recalled HASSON




   Investigation on    10/10/2019           at   Hayes, Virginia, United States (In Person)

   File #                                                                                                                    Date drafted    10/15/2019

   by

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          being very high strung.

                      recalled meeting HASSON for the first time a while ago.
          was "out one day" and had his head shaved because he was a skinhead.
                   bumped into HASSON. HASSON invited          over to his residence
          to hang out. While          and HASSON hung out, they listened to skinhead
          music and talked about various things including tattoos. All of the members
          of the skinhead group understood who they didn't like and why.          did
          not believe that HASSON was angry at anyone in particular.

                      and HASSON got beer together one time. HASSON talked about Adolf
          Hitler.          didn't like fascists or the fascist state, but liked "old
          school American skinheads." HASSON enjoyed being around white people. HASSON
          didn't get political with           all          and HASSON did when they
          hung out together was listen to skinhead music and drink beer.

                      first met HASSON in 1994.          believed that HASSON may have
          visited          when he was in jail, but          was unsure.          had
          not had any contact with HASSON since the summer of 1996. HASSON eventually
          moved and he and          no longer had contact.          believed that
          HASSON was possibly a member of the Hammerskins in Georgia.          had not
          heard about anything relating to HASSON or his whereabouts since 1999 or
          2000.




                      had not heard anything else about HASSON until he received a
          letter in his mailbox from the press who wanted to interview          about
          HASSON.          declined this offer.

                      believed that HASSON knew and hung out with              and
                                last saw                  in 2009 and has had no
          contact with either of them since.
